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                            UNITED STATES DISTRICT COURT

                                DISTRICT OF OREGON

                                 PORTLAND DIVISION

GREAT NORTHERN RESOURCES, INC.,                   Case No. 3:20-cv-01866-IM (Lead Case)
DYNAMIC SERVICE FIRE AND
SECURITY, LLC, and WALTER VAN                     ORDER GRANTING MOTION FOR
LEJA, on behalf of themselves and others          PRELIMINARY APPROVAL OF
similarly situated,                               CLASS ACTION SETTLEMENT

              Plaintiffs,

       v.

KATY COBA, in her official capacity as
State Chief Operating Officer and Director
of ODAS, OREGON DEPARTMENT OF
ADMINISTRATIVE SERVICES, THE
CONTINGENT, BLACK UNITED FUND
OF OREGON, INC., and DOES 1-10,

              Defendants.



IMMERGUT, District Judge.


      Having reviewed the Parties’ Motion for Preliminary Approval of Class Action Settlement,

and good cause appearing therefor, the Court hereby GRANTS preliminary approval of the

proposed class action settlement previously filed with the Court as Dkt. No. 85-2 (the




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“Settlement”) in this case as follows:


       1.       Defined Terms. Unless otherwise defined, all capitalized terms herein have the

same meanings as set forth in the Settlement.

       2.       Settlement Terms. The Settling Parties have agreed to resolve the above-

captioned Action upon the terms and conditions set forth in the Settlement filed with the

Court. The Settlement, including all exhibits thereto, is preliminarily approved as

sufficiently fair, reasonable, and adequate to authorize dissemination of the Class Notice

described below. In making this determination, the Court has considered the current

posture of this litigation and the risks and benefits to the Settling Parties involved in both

settlement of these claims and the continuation of the litigation, and finds that the

settlement between the Settlement Class and the Settling Defendants was arrived at by

arm’s length negotiations by experienced counsel.

       3.       Certification of the Settlement Class. For settlement purposes only, the Court

provisionally approves the Settlement Class pursuant to Federal Rules of Civil Procedure 23(b)(3)

and (e):

                All individuals, businesses, and nonprofits that submitted
                applications for funding to the Fund and/or The Contingent prior to
                December 9, 2020, and that have not indicated on their applications
                that they identify as Black, are a Black-owned business, or are a
                Black-focused organization.

       The Court hereby provisionally appoints Great Northern as class representative, to

represent the Settlement Class.

       The Court hereby provisionally appoints the following counsel as Class Counsel:




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                MURPHY & BUCHAL LLP
                James L. Buchal
                3425 SE Yamhill Street, Suite 100
                Portland, Oregon 97214

                BENBROOK LAW GROUP, PC
                Bradley Benbrook
                Stephen M. Duvernay
                400 Capitol Mall, Suite 2530
                Sacramento, California 95814

                MITCHELL LAW PLLC
                Jonathan F. Mitchell
                111 Congress Avenue, Suite 400
                Austin, Texas 78701

       For purposes of these settlement approval proceedings, the Court finds that these attorneys

are competent and capable of exercising their responsibilities as Class Counsel and have fairly and

adequately represented the interests of the Settlement Class for settlement purposes.

       4.       Additional Findings.

                (a)    Prerequisites for Class Action Satisfied. The Court finds, for settlement

       purposes and conditioned upon the entry of this Order, the Final Order, and the Final

       Judgment, and the occurrence of the Final Effective Date, that the prerequisites for a class

       action under Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure have been

       satisfied. The Court finds, in the specific context of this Settlement, that the following

       requirements are met: (i) the number of Settlement Class Members is so numerous that

       joinder of all members thereof is impracticable; (ii) there are questions of law and fact

       common to the Settlement Class Members; (iii) Settlement Plaintiff’s claims are typical of

       the claims of the Settlement Class Members that Settlement Plaintiff seeks to represent for

       purposes of settlement; (iv) Settlement Plaintiff has fairly and adequately represented the




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       interests of the Settlement Class and will continue to do so, and Settlement Plaintiff has

       retained experienced counsel to represent it; (v) questions of law and fact common to the

       Settlement Class Members predominate over any questions affecting any individual

       Settlement Class Member; and (vi) a class action provides a fair and efficient method for

       settling the controversy under the criteria set forth in Rule 23.

                (b)    Manageability. The Court also concludes that, because this action is being

       settled rather than litigated, the Court need not consider manageability issues that might be

       presented by the trial of a class action involving the issues in this case.

                (c)    Reasonableness. The Court finds that the settlement falls within the range

       of reasonableness because it provides for meaningful remediation relative to the merits of

       Settlement Plaintiff’s claims and the defenses to them, in that Settlement Class Members

       can obtain review of their applications. The settlement also has key indicia of fairness, in

       that: (1) the negotiations occurred at arm’s length; (2) there was significant law and motion

       practice; and (3) the proponents of the settlement are experienced in similar litigation. The

       Court further finds that there is a sufficient basis for notifying the Settlement Class of the

       proposed settlement.

       5.       Approval of Notice Program. The Court approves the Notice Program as described

in the Settlement, as well as the form and content of the corresponding Notice as described therein.

The Notice Program shall consist of (i) a mailed notice to all those Settlement Class Members for

whom the Settlement Administrator can ascertain an electronic email address and/or other mailing

address from The Contingent’s records or public records, with reasonable effort; and (ii) Notice




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posted on the Settlement Website. The Notice Program must be completed on or before April 12,

2021.

        The Court finds that the Class Notice described above is reasonable; that it constitutes due,

adequate, and sufficient notice to all persons entitled to receive notice; and that it meets the

requirements of due process and Rule 23 of the Federal Rules of Civil Procedure. Specifically,

the Court finds that the Class Notice complies with Rule 23(e) of the Federal Rules of Civil

Procedure as it is a reasonable manner of providing notice to those Settlement Class Members who

would be bound by the settlement. The Court also finds that the Class Notice complies with Rule

23(c)(2), as it is also the best form and manner of notice practicable under the circumstances,

provides individual notice to members of the Settlement Class who can be identified through a

reasonable effort, and is reasonably calculated, under all the circumstances, to apprise members of

the Settlement Class of the pendency of the Action, the terms of the settlement, and their right to

object to the settlement or exclude themselves from the Settlement Class.

        6.       Exclusion and Objections of Settlement Class Members. The Court approves the

procedures set forth in Section VII of the Settlement by which Settlement Class Members may

exclude themselves from the Settlement Class or object to the Settlement. Specifically, Class

Members may exclude themselves by notifying the Settlement Administrator in writing of the

Settlement Class Member’s intent to be excluded from the Settlement Class. Such written

notification must be postmarked no later than the Opt-Out Deadline, May 28, 2021. The written

notification must include the individual’s name and address; a statement that the Settlement Class

Member wants to be excluded from the settlement in Great Northern Resources, Inc., et al. v.




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Coba., et al., Case No. 3:20-cv-01866-IM (L) (D. Or.); and the Settlement Class Member’s

signature.

       The Settlement Administrator shall provide the Settling Parties with copies of all

completed opt-out notifications, and a final list of all who have timely and validly excluded

themselves from the Settlement Class, which Class Counsel shall file with the Court no later than

10 days prior to the Final Approval Hearing. Any Settlement Class Member who does not timely

and validly exclude himself or herself shall be bound by the terms of the Settlement.

       Furthermore, Settlement Class Members may object to the Settlement and/or to Class

Counsel’s application for attorneys’ fees, costs, and expenses, and for the Service Award.

Objections to the Settlement or to the application for attorneys’ fees, costs, expenses, and for the

Service Award must be electronically filed with the Court, or mailed to the Clerk of the Court,

with a copy to Class Counsel and the Settling Defendants’ counsel. For an objection to be

considered by the Court, the objection must be: (a) electronically filed by the Objection Deadline;

or (b) mailed first-class postage prepaid to the Clerk of Court, Class Counsel, and the Settling

Defendants’ Counsel, at the addresses listed in the Notice, and postmarked by no later than the

Objection Deadline. The Objection Deadline shall be May 28, 2021.

       For an objection to be considered by the Court, the objection must also set forth: (a) the

name of the Action; (b) the objector’s full name, address, email address, and telephone number;

(c) an explanation of the basis upon which the objector claims to be a Settlement Class Member;

(d) all grounds for the objection, accompanied by any legal support for the objection; (e) the

identity of all counsel who represent the objector, including any former or current counsel who

may be entitled to compensation for any reason related to the objection to the Settlement, the fee




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application, or the application for Service Awards; (f) the identity of all counsel representing the

objector who will appear at the Final Approval Hearing; (g) a list of any persons who will be called

to testify at the Final Approval Hearing in support of the objection; (h) a statement confirming

whether the objector intends to personally appear and/or testify at the Final Approval Hearing; and

(i) the objector’s signature (an attorney’s signature is not sufficient).

        No member of the Settlement Class or counsel retained by such a member of the Settlement

Class shall be entitled to be heard at the Final Approval Hearing unless the Objector or his or her

attorneys who intend to make an appearance at the Final Approval Hearing state their intention to

appear in the objection delivered to Class Counsel and counsel for all Settling Parties and filed

with the Court in accordance with the preceding Paragraphs. Counsel for any such member of the

Settlement Class must enter his or her appearance with the Court by the deadline for objection.

Any Settlement Class Member who fails to file and serve a valid and timely written objection in

the manner specified above shall be deemed to have waived all objections and shall be foreclosed

from making any objection (whether by appeal or otherwise) to the Settlement.

        7.       Relevant Remaining Deadlines. On or before May 12, 2021, Plaintiff shall file a

motion for final approval of the Settlement and an application for attorneys’ fees, costs, and

expenses and for the Service Award, and the Settlement Administrator shall post the same on the

Settlement Website within two business days after said filing. On or before June 11, 2021, the

Settling Parties shall file any responses to any objections, and any replies in support of final

approval of the Settlement and/or Class Counsel’s application for attorneys’ fees, costs, and

expenses and for Service Awards.




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       The Court hereby STAYS all deadlines in the Action unrelated to Preliminary Approval

and Final Approval, pending Final Approval of the Settlement.

       8.       Final Approval Hearing. The Court hereby schedules a Final Approval hearing for

June 21, 2021. At the Final Approval hearing, the Court will conduct an inquiry into the fairness

of the Settlement, determine whether it was made in good faith and is fair, reasonable, and

adequate, and should be finally approved. At the Final Approval Hearing, the Court shall also

determine whether to approve Class Counsel’s application for attorneys’ fees, costs, and expenses,

and for a Service Award.



       IT IS SO ORDERED.

       DATED this 19th day of March, 2021.


                                                    /s/ Karin J. Immergut
                                                    Karin J. Immergut
                                                    United States District Judge




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